UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

GREEN BAY DIVISION APR 1 2019
)
Brian G. Heyer )
Plaintz`jj? )
) Case No. l:l9-cv-00015-WCG
V. )
) Chief Judge William C. Griesbach
EXPERIAN INFORMATION )
SOLUTIONS, INC.; TRANS UNION )
LLC; EQUIFAX, lNC.; EQUIFAX )
INFORMATION SERVICES LLC )
Defena'ants )
)

PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS EXPERIAN

INFORMATION SOLUTIONS. INC., EOUIFAX. INC., AND EOUIFAX INFORMATION

SERVICES. LLC'S JOINT MOTION TO DISMISS THE COMPLAINT
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Plaintiff filed his Complaint on January 2, 2019. [Doc. 1] On March 11, 2019 Defendants EquifaX
lnc, EquifaX Information Services LLC, and Experian Information Solutions Inc. filed a Joint Motion
to Dismiss under F.R.C.P. Rule 12(b)(6) his Complaint. [Doc. 17] Plaintitf made two Very detailed
and specific requests for his full consumer file disclosure under 15 U.S.C. § 1681 g in an effort to
obtain and review all information that Defendants in this action had in its files relating to him as a
consumer [Doc. 1 and EXhibits] 1`he FCRA requires, among other obligations, that CRAs “clearly and
accurately” disclose to a requesting consumer “[a]ll information in the consumer’s file at the time of
the request.” 15 U.S.C. § 1681 g(a)(l). Plaintiff did not ask for a “credit report,” a credit score, risk
score, predictors, or things relating to the processes and procedures of how Defendants create reports,

or maintains, analyzes, or disseminates information relating to him to its customers Plaintiff simply

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requested a full consumer file disclosure of what Defendants had in their respective possession, in any
form or in any place, that relates specifically to him. lt Was a very unambiguous and straight-forward
request made under the law. ln response to Plaintiff‘s multiple requests, Defendants provided what can
be described as typical “credit reports.” Plaintiff did NOT request a “credit report,” but instead made a
request for his full consumer file disclosure of all information contained in Defendants' files or is
accessible by them. Plaintiff urges the Court to read Defendants responses with an eye for Defendants

attempting to muddy the waters instead of being responsible for the plain language of the statute.

STANDARD OF REVIEW

A Rule 12(b)(6) motion challenges the “sufficiency of the complaint.” Berger v. Nat. Collegiate
Athletz`c Assoc. , 843 F.3d 285, 289 (7th Cir. 2016). A complaint must provide “a short and plain
statement of the claim showing that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2), sufficient to
provide defendant with “fair notice” of the claim and the basis for it. Bell Atl. Corp. v. Twombly, 550
U.S. 544, 555 (2007). This standard “demands more than an unadomed, the-defendant-unlawfiilly-
harmed-me accusation.”AShcro]? v. [qbal, 556 U.S. 662, 678 (2009). While “detailed factual
allegations” are not required, “labels and conclusions, and a formulaic recitation of the elements of a
cause of action will not do.” Twombly, 550 U.S. at 555. The complaint must “contain sufficient factual
matter, accepted as true, to ‘state a claim to relief that is plausible on its face.”’ Iqlial, 556 U.S. at 678
(quoting Twombly, 550 U.S. at 570). “A claim has facial plausibility when the plaintiff pleads factual
content that allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Boucher v. Fz'n. Sys. of Green Bay, Inc., 880 F.3d 362, 366 (7th Cir. 2018)
(quoting lqbal, 556 U.S. at 678). In applying this standard, the Court should accept all well-pleaded
facts as true and draws all reasonable inferences in favor of the non-moving party. Tobey v. Chibucos,

890 F.Bd 634, 646 (7th Cir. 2018). Only if no possible construction of the alleged facts will entitle
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Plaintiff to relief should the court grant Defendant’s motion. Hishon v. King & Spaldz'ng, 461 U.S. 69,
73, 104 S.Ct. 2229, 2232 (1984).

A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) may be granted only if,
accepting all well-pleaded allegations in the complaint as true and viewing them in the light most
favorable to Plaintiff, a court finds that Plaintiff has failed to set forth fair notice of what the claim is
and the grounds upon which it rests. BellAtlantic Corp. v. Twombly, 127 S.Ct. 1955, 1964 (2007). A
complaint Will survive a motion under Fed. R. Civ. P. 12(b)(6) if it states plausible grounds for
Plaintiff‘s entitlement to the relief sought, id. at 1965 -66, i.e., it need merely contain sufficient factual
allegations to raise a right to relief above the speculative level, id. at 1965. The issue before the Court
upon consideration of such a motion is not Whether Plaintiff "Will ultimately prevail but Whether the
claimant is entitled to offer evidence in support of the claims.” McDowell v. N. Shore-Long Island
Jewz`sh Health Sys., lnc., 839 F. Supp. 2d 562, 565 (E.D.N.Y. 2012) (citing to Todd v. Exxon Corp., 275
F.3d 191, 198 (2d Cir.2001)). On a motion to dismiss under Rule 12(b)(6), "a complaint must be
construed in the light most favorable to the plaintiff, the allegations thereof being taken as true, and, if
it appears reasonably conceivable that at trial the plaintiff can establish a set of facts entitling him to
some relief, the complaint should not be dismissed." Mathers Fund, Inc. v. Colwell Co., 564 F.2d 780,
783 (7th Cir. 197 7). The issue is not whether a plaintiff will ultimately prevail, but whethe the claimant
is entitled to offer evidence to support the claims. Scheuer v. Rhoa'es, 416 U.S. 232, 236 (1974). The
question therefore is whether in the light most favorable to the plaintiff and with every doubt resolved
in his behalf, the complaint states any valid claim for relief. Beanal v. Freeporz‘ McMoran, Inc., 197
F.3d 161, 164 (5th Cir. 1999)

The Plaintiff is proceeding pro se, and all pleadings filed must be liberally construed Haz'nes v
Kerner, 404 U.S. 519 (1972). The district court is to ensure that the claims of the pro se litigants are

given “fair and meaningful consideration.” Matzker v. Herr, 748 F.2d 1142, 1146 (7th Cir.1984)

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As set forth in detail below, Plaintiff has met this standard of review, well within the meaning of

the foregoing case law, thus warranting denial of Defendants' motions in their entirety.

ARGUMENT AND AUTHORITIES

I. “The Complaint Fails to State a Plausible Claim for Relief”

Plaintiffs Complaint should not be dismissed because it does indeed state a plausible cause of action
under Twombly. A complaint is a notice pleading. ln their Joint Motion, Defendants assert that Plaintiff
must provide all evidence to prove his claims at the pleading stage, even Without the benefit of
discovery. Defendants argue that Plaintiff merely recites the Words of the statute and states his claim in
conclusory fashion and only makes conclusory allegations Plaintiff, as clearly stated in his Complaint,
made multiple very specific requests of each of the Defendants, and they each failed to comply with the
requirements of 15 U.S.C. § 1681 g(a)(l), which is the statutory basis of the claim made. Plaintiff is not
required to state all facts and prove his case at the pleading stage. “Here, the Court is not requiring
heightened fact pleading of specifics, but only enough facts to state a claim to relief that is plausible on

its face.” BellAtlantic Corp. v. Twombly, 550 U.S. 544 (2007)

Il. “The Complaint Does Not Allege Any Facts Supporting The Claim That Defendants
Willfully Violated the FCRA”

A. “Under the FCRA, willfulness isa a high standard that requires knowing or reckless
violation.”

Given the very high duty of care assigned by statue specifically to the Consumer Reporting
Agencies to exercise their “grave responsibilities with fairness,” (§ 1681 g(a)(4) the Court should not
view Defendant’s excuses with a patient, passive, or casual eye. Willfulness and recklessness are

questions for the jury to determine

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With the Complaint and exhibits, Plaintiff has alleged that Defendants knew of their legal
obligations but consciously refused to comply With § 1681 g(a)(l). Despite the specific written requests
sent to them by the Plaintiff, which apprised them of their duties, Defendants failed to perform their
duties intentionally and purposefully, in conformity with their established and systemic policies and
procedures The allegations provide enough detail and fair notice of What Plaintiff will prove and gives
Defendants more than the required “fair notice of What the claim is and the grounds upon which it
rests." Conley v. Gz`bson, 355 U.S. 41, 47 (1957). “An allegation that the defendant was aware of the
FCRA, but failed to comply With its requirements, [is] sufficient to support an allegation of willfulness
and to avoid dismissal." Sz'ngleton v. Domz'no ’s Pz`zza, LLC, 2012 WL 245965, *4 (D. Md. Jan 25,
2012) (citations omitted). See also Kubas v. Stana’ara' Parkz‘ng Corp IL, 594 F.Supp.2d 1029, 1031-32
(N.D. 111 2009), denying a motion to dismiss where plaintiff alleged that a defendant acted willfully by
failing to comply with the FCRA's FACTA amendment after credit card issuers had informed it of the
law's requirements The Complaint describes Defendants obligation to comply with FCRA§ 1681g(a)
(1). The Complaint shows that they did not do so. The Defendant's Motion should be denied.

Plaintiff sincerely appreciates creative writing. However Defendants’ peculiar attempt to parallel the
FCRA's Willfulness to qualified immunity of public officials is best shelved in the Fantasy aisle.
Mindful of civil violations Rodney King famously asked, “Why can't we all just get along?” If billion
dollar Defendants would follow the plain statutes instituted specifically to govern them, Plaintiff would
not need to bring this Complaint

B. “Allegation do not rise to the level of a knowing or reckless violation because they do not
allege a violation at all.”

A defendant acts willfully under the FCRA by either knowingly or recklessly disregarding its
statutory duty. Safeco, 551 U.S. at 5 7-60. Relying upon this definition, courts have found assertions

that a defendant repeatedly violated the FCRA sufficient to allege reckless - and, therefore, Willful

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misconduct See sz`z‘h v. HireRz'ght Solutions, Inc., 711 F.Supp.2d 426, 435. The Complaint and
exhibits illustrate the Plaintiff made two specific requests to each Defendant, in writing, via certified
mail-return receipt, which emphasizes to any non-reckless business the importance of the requests
made therein. How many bites of the apple is the public supposed to give‘?

Defendant disgorges a fair bit of toner to muddy the waters and wrongly assert that Plaintiff is
referring to computer machine languages in his Complaint with reference to “negative codes.” Plaintiff
is not seeking internal record keeping mechanisms, such as at issue in Gz'llespie. It is unreasonable for
Defendants to rely on Gillespz`e. To the contrary, Plaintiff makes a clear appeal the disclosure of all
information in his consumer file, whether or not the CRAs happen to select it for inclusion in the
“credit reports” provided to Plaintiff or sold to others. Defendants might end this litigation instantly if
they could plausibly affirm to the Court that what they sent to Plaintiff in late 2017 was indeed the
entirety of information they maintain on him, and that they neither store, maintain, nor sell any other
information regarding the Plaintiff.

Congress clearly intended the protections of the FCRA to apply to all information furnished or that
might be furnished in a consumer report The court in Gz'llespz'e noted, “ '[F]ile denotes all information
on the consumer that is recorded and retained by a consumer reporting agency that might be furnished,
or has been furnished, in a consumer report on that consumer.” Ia'. (quoting 16 C.FR. Pt 600, app.
603). Cortez v. Trans Unz'on, LLC, 617 F.3d 688, 721 (3d Cir. 2010) What Cortez makes pellucid is
that Consumer Reporting Agencies are required to disclose information in Plaintiff‘s “consumer file”
which is not included in typical “consumer reports” or “credit reports” distributed to others.

Failing to provide a full consumer file disclosure under § 1681 g(a)(l) is an entirely different
violation than failing to provide a consumer credit report (such as the public most frequently requests).
Withholding information stored on a individual is a willful violation of § 1681 g(a)(l). Goode v.

Lexz'sNexis Risk, 848 F.Supp.2d 532 (2012). To elaborate, the Goode court found that not only is a

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CRA relying on Gillespie objectively unreasonable, it rejected the conflation of “consumer reports”
provided to others and the full consumer file held by the CRA. The Court held, “Congress clearly
intended for § 1681 g(a)(l) to request something more - all information in the consumer's file - than
the report they automatically receive under § 1681b(b)(3)(A).”

Eurther, as in the unpublished Scott case cited by Defendants, this Plaintiff also has information
provided to him by other consumer reporting agencies but which not included in the “credit reports”
provided by Defendants At this 'fair notice' stage of litigation, the Complaint plainly states that
Defendants failed to provide all information available to the Defendants in his consumer file. In May
2017 Plaintiff received a report from the National Consumer Telecom & Utilities Exchange (NCTUE)
which included information about his telephone service billing. The NCTUE states on its website that,
“The NCTUE database is housed and managed by Equifax lnformation Services LLC.”1 The “credit
report” supplied to Plaintiff by Defendants Equifax lnc. and Equifax Information Services LLC did not
include Plaintiffs telephone billing history in their response to Plaintiff‘s request for his full consumer
file disclosure Equifax Defendants market a service called “FirstSearch” which boasts of,

“fresh, new contact information on millions of consumers from various
proprietary sources that are among the first to know when a consumer has
moved or requested services for a physical address. What’s more, you also get
industry exclusive access to current billing record and payment history data
from within the utility, pay TV, and wireless communication sectors.”2
(Plaintiff adds emphasis.)

Plaintiff reasonably believes Equifax Defendants are describing their use of the NCTUE data,
despite failing to include this NCTUE data when he asked for a full consumer file disclosure

Equifax Defendants operate an employment verification service marketed as “The Work Number.”

The website of “The Work Number” is festooned with Equifax branding and states, “The Work Number

 

1 https://www.nctue.com/about-us (1ast accessed March 29, 2019)
2 https://assets.equifax.com/assets/usis/firstSearch_ps.pdf (last accessed Mar. 29, 2019)

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is a registered trademark of TALX Corporation, a wholly owned subsidiary of Equifax lnc.” 3 Plaintiff
requested a report on himself from “The Work Number,” and he received from “The Work Number”
what appeared to be its standard report with some of his employment information Despite requesting
from Equifax Defendants a full consumer file disclosure, this employment information stored and
accessible by them was not included in their response.

These individual, direct examples demonstrate that “credit reports” are mere selections of data held
on consumers and certainly not all of the information available to the CRAS. Plaintiff‘s Complaint is
“fair notice” of the nature of the allegations against Defendants Defendants 12(b)(6) motion is
premature “However, such arguments [regarding what constitutes a consumer file], which require
evidence not appropriate on a motion to dismiss, are more suitably determined on summary judgment
or at trial.” Jones v. Equifax, lnc., No. 3:14-cv-678, 2015 WL 5092514, at *4 n.ll (E.D. Va. Aug. 27,

2015).

B. “Plaintiff lacks standing because the Complaint does not allege a concrete injury.”

“'lt is a general and indisputable rule, that where there is a legal right, there is also a legal remedy
by suit or action at law, whenever that right is invaded.’ (citing Blackstone’s Commentarz'es) The
Government of the United States has been emphatically termed a government of laws, and not of men.
lt will certainly cease to deserve this high appellation if the laws furnish no remedy for the violation of
a vested legal right. ” Marbury v. Madz'son 5 U.S. (1 Cranch) 137 , 163 (1803)

Plaintiff alleges far more than a “bare procedural violation.” By providing a private cause of action,
Congress recognized the harm such violations of the FCRA cause, thereby articulating a “chain of
causation that will give rise to a case or controversy.” Spokeo, 136 S. Ct. at 1549 (quoting Lujan v

De]a 0fVI/z1d1ife,504 Us 555, 580.)

 

3 https://www.theworknumber.com (last accessed Mar. 29, 2019)

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Courts have accepted that “an alleged procedural violation can by itself manifest concrete injury
where Congress conferred the procedural right to protect a plaintiff ’s concrete interests and where the
procedural violation presents a ‘risk of real harm’ to that concrete interest.” S!rubel v. Comem`ty Bank,
842 F.3d 181, 190 (2d Cir. 2016); see also Gubala v. Tl'me Warner Cable, Inc., 846 F.3d 909, 911 (7th
Cir. 2017). “The violation of a procedural right granted by statute can be sufficient in some
circumstances to constitute injury in fact” and, in those circumstances, a plaintiH “need not allege any
additional harm beyond the one Congress has identified.” Spokeo, citing FEC v. Akz'ns, 524 U.S. 11, 20-
25 (1998); Publz`c Citz'zen v. U.S. Dept of Justl'ce, 491 U.S. 440, 449 (1989)).

By providing a private cause of action for violations [of the F.C.R.A.], Congress has recognized the
harm such violations cause, thereby articulating a “chain of causation that will give rise to a case or
controversy.” Syed v. M-I, LLC, No. 14-] 7]86 (9th Cin 201 7)

Facing a substantially similar FCRA § 1681 g(a)(l) complaint, an Equifax motion to dismiss last
year was defeated, with the Court concluding the Plaintiff had both sufficiently stated a claim and that
findings of fact were still necessary. See Hz'nkle v. Experz`an Informatz'on Solutz`ons, Inc ez‘ al., No. l :18-
CV-00007 - Doc. 56 Memorandum & Recommendation (W.D. North Carolina 2018).

Long before Spokeo expressly reaffirmed that informational injuries constitute a sufficient “injury
in fact” for the purposes of standing, the doctrine of informational injury was already well established
in Supreme Court precedent and the federal circuits. The Supreme Court and other circuit courts have
uniformly held that a deprivation of information is a sufficient injury for standing purposes These
holdings have arisen in a wide variety of statutory contexts, from government-sunshine and election
law to health, safety, and environmental regulation See Havens Realty Corp v. Coleman, 455 U.S. 363,
373 (1982); Doe v. Pub. Citz'zen, 749 F.3d 246, 263 (4th Cir. 2014) (observing that “[t]he Supreme
Court consistently has held that a plaintiff suffers an Article lll injury when he is denied information

that must be disclosed pursuant to a statute”); Hearlwooa’ v. U.S. Forest Serv., 230 F.3d 947, 952 n.5
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(7th Cir. 2000) (finding “cognizable injury-in fact” for plaintiffs who were deprived of information
required to be disclosed by statute); Pub. Ciz‘izen v. FTC, 869 F.2d 1541, 1543 (D.C. Cir. 1989) (finding
Article lll standing where consumers were “not receiving the information in the manner in which they
claimed they were legally entitled to receive it”).

That is exactly what is described in the Complaint Congress, through the FCRA, decided that
consumer reporting agencies such as the Defendants must provide a full consumer file disclosure
Simple and plainly, individuals have the statutory right to know what is in the file Plaintiff’s “inability
to obtain [that] information” is therefore “a sufficient injury in fact to satisfy Article lll.” Spokeo, 136
S. Ct. at 1549.

Defendants argument that Plaintiff has not suffered a concrete harm depends on a fatally flawed
premise: that a consumer must suffer an additional harm beyond the deprivation of information.
Plainly Defendants violations resulted in precisely the type of informational injury specifically
recognized by the Supreme Court in Spokeo and other cases, such as Havens. 455 U.S. At 363.

Havens demonstrates the flaws with Trans Union’s argument that Plaintiff must show how the
deprivation of information impacted him. ln Havens, the Supreme Court held that a housing-
discrimination “tester” had standing based on a violation of “[his] statutorily created right to truthful
housing information.” Ia'. Although the tester had no “intention of buying or renting a home” and “fully
expect[ed] that he would receive false information,” id. at 373-3 74, the Court held that “[a] tester who
has been the object of a misrepresentation made unlawful under [the statute] has suffered injury in
precisely the form the statute was intended to guard against, and therefore has standing.” Ia'.

Like the “tester” in Havens or the potential employee in Thomas, Plaintiff suffered the type of
injury the FCRA “was intended to guard against.” To hold otherwise would defy Havens and even
Spokeo, which unquestionably recognized that the deprivation of information subject to disclosure

under a federal statute “constitutes a sufficiently distinct injury to provide standing to sue.” Spokeo,
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136 S. Ct. at 1549 (citing Public Ciz‘izen, 491 U.S. at 449;Akz'ns, 524 U.S. at 24-25 (1998))

The Supreme Court’S landmark decision in Safeco is deductively instructive ln Safeco, the
violation at issue was an insurer’s failure to provide a consumer with notice that it had used
information in a consumer report to increase the consumer’s insurance rates in violation of §1681m(a).
The Supreme Court’s decision reached the merits of the issue, and thereby implicitly recognized that
the informational injury at issue was sufficient to confer standing. lf the deprivation of information
was insufficient to confer standing then the Supreme Court would not have decided Safeco on the
merits, as it would have had a duty to dismiss sua sponte

“Congress enacted FCRA in 1970 out of concerns about abuses in the consumer reporting industry.”
Dall.‘on, 257 F.3d 409 at 414 (citing S. Rep. No. 91- 517, at 3 (1969)). As one legislator remarked,
“with the trend toward . . . the establishment of all sorts of computerized data banks, the individual is in
great danger of having his life and character reduced to impersonal ‘blips’ and key-punch holes in a
stolid and unthinking machine which can literally ruin his reputation without cause, and make him
unemployable” 116 Cong. Rec. 36570 (1970). Thus, aware that “in too many instances [consumer
reporting] agencies were reporting inaccurate information that was adversely affecting the ability of
individuals to obtain employment . . . Congress adopted a variety of measures designed to insure that
agencies report accurate information.” Id. at 414-15. Among the chief concerns that Congress
specifically recognized was consumers’ lack of access to the information that consumer reporting
agencies were automatically associating with consumers See Senate Report at 3 (noting the “inability
at times of the consumer to know he is being damaged”). Congress thus enacted § 1681 g because in
some cases it “may be the only way in which the consumer can effectively” correct mistakes 116
Cong. Rec. 35 ,940 (1970). lndeed, Spokeo itself referenced the FCRA in describing the risk-of-harrn
principle, explaining that when Congress passed the statute it identified an important injury_“the

dissemination of false information”-and “plainly sought to curb” the harm flowing from that injury

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“by adopting procedures designed to decrease th[e] risk” of dissemination 136 S. Ct. at 15 50. Section
1681g(a) is the cornerstone provision of the FCRA that Congress designed to lower the prevalence of
inaccurate information Plaintiff‘s Complaint clearly describes an effort to protect his personal
information, not redress of a general public right.

lt is worth noting again how straightforward this case is under lustice Thomas’s approach in
Spokeo, 136 S. Ct. at 1550-54. As Justice Thomas explained, Article lll does not require a “plaintiff
seeking to vindicate a statutorily created private right” to “allege actual harm beyond the invasion of
that private right.” ld. at 1553 (citing Havens Really Corp. v. Coleman, 455 U.S. 363, 373-74 (1982);
Tenn. Valley Elec. Power CO. v. TVA, 306 U.S. 118, 137-38 (1939)). That is because “Congress can
create new private rights and authorize private plaintiffs to sue based simply on the violation of those
private rights.” ]a'. Article lll requires more, however, when the suit involves a public right. See ld.
(“Congress cannot authorize private plaintiffs to enforce public rights in their own names, absent some
showing that the plaintiff has suffered a concrete harm particular to him.”) Plaintiff in this case is not
creating a class and defending the public's right to public information; to the contrary he is plainly
demanding full disclosure of his own full consumer file, a right specified by Congress for protection of
individuals

CONCLUSION

For the foregoing reasons, the Motion to Dismiss should be denied in its entirety.

Respectfully submitted,

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CERTIFICATE OF SERVICE

The undersigned certifies that a true cope of the foregoing was served on the following parties via

First Class, U.S. Mail, postage prepaid, on March 30, 2019.

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